      Case 3:05-cr-00354-PAD     Document 750    Filed 02/08/07     Page 1 of 1



1                             UNITED STATES DISTRICT COURT
2                                DISTRICT OF PUERTO RICO

3    UNITED STATES OF AMERICA,

4         Plaintiff,
                                                 Crim. No. 05-354 (JAF)
5         v.

6    JESUS CARABALLO-ORTIZ (05),
7    LUIS ANDINO-DELBREY (06),
8    JORGE L. URBINA-ACEVEDO (10),

9         Defendants.



10                                         O R D E R

11        The Motion for New Trial, Docket Document No. 745, is denied.

12   These defendants were fairly tried and justly convicted. Their claims

13   at sentencing were seriously taken into consideration, the sentencing

14   hearing as to movants was continued, defendants were released on

15   bail, they were given the opportunity to sit down with the government

16   and make a cooperation bid which did not result in any favorable

17   terms to defendants. Defendants made informed choices during trial

18   regarding strategy, and any threat of the type alleged was not

19   serious   enough   for    them   to    reassess   their      trial   strategy.   The

20   scenario painted in the motion does not afford movants the right to

21   be given a new trial.

22        IT IS SO ORDERED.

23        San Juan, Puerto Rico, this 8th day of February, 2007.

24                                               S/José Antonio Fusté
25                                                JOSE ANTONIO FUSTE
26                                               U. S. District Judge
